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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                      8:16CR307

       vs.
                                                                        ORDER
EVERLYN DELGADO,

                       Defendant.


       This matter is before the court on Defendant's Unopposed Motion to Continue Pretrial
Motion Deadline (Filing No. 46). Defendant seeks an additional week in which to file pretrial
motions in accordance with the progression order. Defendant has filed an affidavit wherein she
consents to the motion and acknowledges that she understands the additional time may be
excludable time for the purposes of the Speedy Trial Act. (Attached to Filing No. 46)
Defendant’s counsel represents that the government does not object to the motion. For good
cause shown, I find that the motion should be granted. Pretrial motions shall be filed by January
20, 2017.
       IT IS ORDERED:
       1. Defendant's Unopposed Motion to Continue Pretrial Motion Deadline (Filing No. 46)
is granted. Pretrial motions shall be filed on or before January 20, 2017.
       2. The ends of justice have been served by granting such motion and outweigh the
interests of the public and Defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between January 13, 2017 and January 20, 2017, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial
Act for the reason Defendant's counsel requires additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(7)(A) & (B).
       Dated this 13th day of January, 2017.

                                                      BY THE COURT:
                                                      s/ Susan M. Bazis
                                                      United States Magistrate Judge
